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                                 9
                                 10   Attorneys for Plaintiff and Proposed Class
                                 11
                                                          UNITED STATES DISTRICT COURT
                                 12
                                                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
3055 Wilshire Blvd, 12th Floor




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Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 14   NATALY MORALES, individually                CASE NO.: 2:21-cv-06828-MWF-MRW
                                      and on behalf of all others similarly
                                 15   situated,
                                                                                  Honorable Judge Michael W. Fitzgerald
                                 16                                               Courtroom 5A
                                                            Plaintiff,
                                 17
                                            v.
                                 18
                                 19                                               NOTICE OF SETTLEMENT
                                      PETERSON ENTERPRISES, LLC
                                 20   d/b/a GEOFFREY’S MALIBU, a                  Complaint Filed: August 24, 2021
                                      California limited liability company;
                                 21   and DOES 1 to 10, inclusive,                Trial Date: None
                                 22
                                 23                        Defendants.
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                                                                         NOTICE OF SETTLEMENT
                                  Case 2:21-cv-06828-MWF-MRW Document 13 Filed 09/28/21 Page 2 of 3 Page ID #:78



                                 1          Plaintiff, Nataly Morales (“Plaintiff”) hereby notifies the Court that the
                                 2    claims of Plaintiff have settled on an individual basis. A notice of dismissal of
                                 3    Plaintiff’s individual claims in accordance with Federal Rule of Civil Procedure
                                 4    41(a)(1)(A)(i) will be filed upon execution of a formal settlement agreement.
                                 5    Plaintiff reserves the right to reopen within forty-five (45) days if a settlement is
                                 6    not finalized.
                                 7
                                 8    Dated: September 28, 2021                     Respectfully Submitted,
                                 9
                                 10                                                 /s/ Thiago M. Coelho
                                                                                    Thiago M. Coelho
                                 11                                                 WILSHIRE LAW FIRM
                                 12                                                 Attorneys for Plaintiff and
                                                                                    Proposed Class
3055 Wilshire Blvd, 12th Floor




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Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




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                                 1                            CERTIFICATE OF SERVICE

                                 2
                                            The undersigned hereby certifies that on September 28, 2021, a true and
                                 3
                                      correct copy of the foregoing was electronically filed with the Clerk of the Court
                                 4
                                      using the Court’s CM/ECF system, which sent notification to all counsel of record,
                                 5
                                      who are deemed to have consented to electronic service via the CM/ECF system.
                                 6
                                 7
                                 8
                                 9    Dated: September 28, 2021                   /s/ Thiago M. Coelho
                                                                                  Thiago M. Coelho
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3055 Wilshire Blvd, 12th Floor




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Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




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                                                                    NOTICE OF SETTLEMENT
